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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



 VIRGINIA L. GIUFFRE,

       Plaintiff,
                                                       Civil Action No. 19-cv-03377-LAP
 v.

 ALAN DERSHOWITZ,

       Defendant.


 ALAN DERSHOWITZ,

       Counterclaim Plaintiff,

 v.

 VIRGINIA L. GIUFFRE,

       Counterclaim Defendant.



                                         SCHEDULE A

       Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Defendant and Counterclaim

Plaintiff Alan Dershowitz (“Dershowitz”) requests that Boies Schiller Flexner LLP (“BSF”)

produce for inspection and copying all documents and things listed below to Imran Ansari at the

offices of Aidala, Bertuna & Kamins PC, 546 Fifth Avenue, Sixth Floor, New York, NY 10036,

within thirty (30) days of service of this subpoena.

                                         DEFINITIONS

        The words and phrases used in these Requests shall have the meaning ascribed to them

under the Federal Rules of Civil Procedure and the Local Rules of the United States District Court
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for the Southern and Eastern Districts of New York, including Local Rules of Civil Procedure 26.3

definitions for “communication,” “document,” “identify,” “parties,” “person,” and “concerning.”

The Definitions expressly include hard copy documents and electronically stored information—

including writings, drawings, graphs, charts, photographs, sound recordings, images, and other

data or data compilations. Dershowitz expressly requests forensic images of all electronically

stored information (e.g., the document and data, and its metadata). The Definitions also expressly

include tangible things.

          In addition, the following terms shall have the meanings set forth below whenever used in

any Request. The following Definitions apply to the Instructions and Requests below and are

incorporated into each Instruction and Request as if fully set forth therein:

          1.     “Action” means the lawsuit captioned Virginia L. Giuffre v. Alan Dershowitz, Civil

Action No. 19-cv-03377-LAP.

          2.     “You,” “Your” and “BSF” means Boies Schiller Flexner LLP, inclusive of

individual attorneys within the firm, including but not limited to, David Boies, Sigrid McCawley,

Joshua Schiller, and Your agents, representatives, all persons acting on Your behalf, and any and

all persons associated with, affiliated with, or controlled by You

          3.     “Giuffre” means Virginia L. Giuffre (née Roberts), her agents, representatives, all

persons acting on her behalf, and any and all persons associated with, affiliated with, or controlled

by her.

          4.     “Dershowitz” means Defendant and Counterclaim Plaintiff Alan Dershowitz.

          5.     “Epstein” means Jeffrey E. Epstein, his agents, representatives, all persons acting

on his behalf, and any and all persons associated with, affiliated with, or controlled by him.




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          6.    “Wexner” means Leslie Wexner, his agents, representatives, all persons acting on

his behalf, and any and all persons associated with, affiliated with, or controlled by him.

          7.    “Complaint” means the Complaint filed by Giuffre in the Action.

          8.    “Counterclaim” means the Counterclaim filed in the Action.

          9.    “Answer” means the Answer and Affirmative Defenses filed by Dershowitz in the

Action.

          10.   “CVRA Action” means the lawsuit captioned Jane Doe 1 and Jane Doe 1 v. United

States, Civil Action No. 08-cv-80736-KAM, filed in the United States District Court for the

Southern District of Florida.

          11.   “Income” includes, without limitation, any revenue, payments, compensation,

remuneration, financial benefit or support or any other financial consideration, or provision of any

other thing of value.

          12.   “Person” means any natural person or any legal entity, including, without limitation

any business or governmental entity or association.

          13.   “Document” or “Documents” shall have the broadest meaning possible under Rules

26 and 34 of the Federal Rules of Civil Procedure and shall include without limitation: documents;

ESI; Communications in written, electronic, and recorded form; and tangible things.

          14.   “ESI” means electronically stored information as defined by and used in the Federal

Rules of Civil Procedure.

          15.   “Communication” means any oral or written exchange of words, thoughts or ideas

with another person or entity, whether in person, in group, by telephone, by letter, by fax, by

electronic mail, by text message, or otherwise.




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       16.     The singular includes the plural and vice versa, except as the context may otherwise

require; reference to any gender includes the other gender; the words “and” and “or” shall be

constructed as either conjunctive or disjunctive in such manner as will broaden as widely as

possible the scope of any request for production; the word “all” means “any and all”; the word

“any” means “any and all”; the word “including” means “including but not limited to.”

       15.     The words “concerning,” “regarding,” “reflecting,” and/or “relating to” mean

describing, discussing, constituting, containing, considering, embodying, evaluating, mentioning,

memorializing, supporting, collaborating, demonstrating, proving, evidencing, showing, refuting,

disputing, rebutting, regarding, controverting, contradicting, made in connection with or by reason

of, or derived or arising therefrom.

                                        INSTRUCTIONS

       1.      You must furnish all non-privileged documents within Your possession, custody, or

control including any documents in Your constructive possession whereby You have the right to

compel production of documents from a third party—as well as those which are reasonably

available to You, including documents and information in the possession of Your Attorneys, agents,

representatives, consultants, accountants, advisors, or investigators, regardless of the location of

such documents.

       2.      All documents should be produced in single page tiff format, with corresponding

document level text files containing the OCR or extracted text. The filename of the text file should

correspond to the Bates number of the first page of the document; the filename of the image file

should correspond to the Bates number of the document. The Bates number should have a prefix

and contain 7 digits and no spaces, for example SAMPLE0000001. The production should be

accompanied by: (i) a load file suitable for loading the data into a litigation database that defines




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document breaks, attachments, metadata, and other information; and (ii) a cross-reference file that

facilitates the linking of the produced tiff or native file with a litigation database.

        3.      For documents maintained electronically, the following fields should be included,

at a minimum: Bates Begin, Bates End; Bates Begin Attach; Bates End Attach; Attachment

Document; Pages; Author; Custodian/Source; Date Created; Date Last Modified; Date Received;

Date Sent; Time Sent; Document Extension; Email BCC; Email CC; Email From; Email

Subject/Title; Email To; Original Filename; File Size; Original Folder Path; MD5 Hash; Parent

Document ID; Document Title; Time Zone; Text Link; Native Link.

        4.      For any electronically stored documents that cannot be interpreted in TIFF format

(including, but not limited to, spreadsheets, presentations, databases, logs, video and audio files),

you should produce a Bates numbered TIFF placeholder and a native version of that file, with the

native version named by its Bates numbers.

        5.      All drafts of a responsive Document must be produced, as well as all non-identical

copies of the Document. Any comment, notation, or other marking shall be sufficient to distinguish

Documents that are otherwise similar in appearance and to make them separate Documents for

purposes of Your response. Any preliminary form, intermediate form, superseded version, or

amendment of any Document is to be considered a separate Document.

        6.      Each paragraph and subparagraph of these Instructions and the Requests, as well as

the definitions herein, shall be construed independently, and no paragraph or subparagraph or

definition shall limit the scope of any other.

        7.      If You object to any Request or any part of a Request, identify the part to which

You object, state the objection(s) with specificity, and provide a response to the remaining

unobjectionable part.




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       8.      If You object to all or any part of a Request, the objection must state whether any

responsive Documents are being withheld on the basis of that objection.

       9.      If You claim any privilege or similar basis for not producing a requested document,

please provide a privilege log consistent with Local Rule 26.2.

       10.     If You have no Documents in Your possession, custody, or control that are

responsive to a particular Request, please so state.

       11.     To the extent that any information that is responsive to the Requests has been

destroyed, lost or misplaced, please identify that information by type and author and the date and

manner in which the information was destroyed, lost or misplaced.

       12.     The Requests, Definitions, and Instructions herein are propounded for the purpose

of discovery and are not to be taken as a waiver of or prejudice to any objections that may be made

at any hearing or trial in this Action to the introduction of any evidence relating to Documents

responsive to these Requests or as an admission of the authenticity, relevance, or materiality of

Documents responsive to these Requests.

       13.     The following Requests are both general and specific, and to the degree that a more

specific Request seeks documents that also happen to be responsive to a more general Request, the

more specific Request does not limited the breadth of the documents which are requested by and

responsive to the more general Request.

       14.     Unless otherwise stated, the relevant time period for these Requests is January 1,

1998 through the date of Your response.

       15.     Dershowitz specifically requests that You supplement Your responses to these

Requests as required under Fed. R. Civ. P. 26(e).




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                               REQUESTS FOR PRODUCTION

       1.       All Documents concerning Communications between BSF and Giuffre concerning

Dershowitz.

       2.       All Documents concerning Communications between BSF and Giuffre concerning

Wexner.

       3.       All Documents concerning Communications between BSF and Wexner.

       4.       All Documents concerning Communications between BSF and any media outlet

concerning Giuffre and/or Dershowitz.

       5.       All Documents concerning Communications between BSF and any journalist,

reporter and/or author concerning Giuffre and/or Dershowitz.

       6.       All Documents concerning Communications between BSF and the individual

known as Patrick Kessler.

       7.       All Documents concerning Communications between BSF and Stanley Pottinger

concerning the individual known as Patrick Kessler.

       8.       All Documents concerning Communications between BSF and the New York

Times, and/or other media outlets, concerning the individual known as Patrick Kessler.

       9.       All Documents concerning Communications between BSF and law enforcement

concerning the individual known as Patrick Kessler.

       10.      All Documents concerning Communications between BSF and any of the following

individuals, their agents, representatives, all persons acting on their behalf, and any and all persons

associated with, affiliated with, or controlled by them:

             a. Epstein;

             b. Wexner;




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             c. Ghislaine Maxwell;

             d. Bill Richardson;

             e. George Mitchell;

             f. Thomas Pritzker;

             g. Glenn Dubin;

             h. Prince Andrew;

             i. Ehud Barak;

             j. Marvin Minsky;

       11.      All Documents concerning any confidentiality agreement, settlement agreement, or

other contractual agreement of any kind between Giuffre and any of the following individuals:

             a. Epstein;

             b. Wexner;

             c. Ghislaine Maxwell;

             d. Bill Richardson;

             e. George Mitchell;

             f. Thomas Pritzker;

             g. Glenn Dubin;

             h. Prince Andrew;

             i. Ehud Barak;

             j. Marvin Minsky;

       12.      All engagement letters between BSF and Giuffre.




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                                         ALAN DERSHOWITZ,

                                         By his attorneys,

                                         /s/ Howard M. Cooper
                                         Howard M. Cooper (MA BBO# 543842)
                                         (pro hac vice)
                                         Christian G. Kiely (MA BBO# 684308)
                                         (pro hac vice)
                                         TODD & WELD LLP
                                         One Federal Street, 27th Floor
                                         Boston, MA 02110
                                         (617) 720-2626
                                         hcooper@toddweld.com
                                         ckiely@toddweld.com

                                         /s/ Imran H. Ansari
                                         Arthur L. Aidala (S.D.N.Y. Bar No. ALA-0059)
                                         Imran H. Ansari (S.D.N.Y. Bar No. IHA-1978)
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Dated: December 3, 2019




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